          Case: 23-1556   Document: 14     Page: 1   Filed: 09/18/2023




                               No. 2023-1556


             IN THE UNITED STATES COURT OF APPEALS
                     FOR THE FEDERAL CIRCUIT


               TEAM SYSTEMS INTERNATIONAL, LLC
                           Appellant

                                     v.

                 SECRETARY OF THE DEPARTMENT
                    OF HOMELAND SECURITY,
                              Appellee
                     _________________________

            Appeal from the Civilian Board of Contract Appeals in
                CBCA No. 7145, Judge Patricia J. Sheridan
                       _________________________

                  REPLY BRIEF OF APPELLANT
               TEAM SYSTEMS INTERNATIONAL, LLC
                    _________________________


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                Case: 23-1556             Document: 14           Page: 2         Filed: 09/18/2023




                      TABLE OF CONTENTS
TABLE OF CONTENTS ........................................................................................... i

TABLE OF AUTHORITIES ................................................................................... iii

ARGUMENT .............................................................................................................1

         A. The Plain Language of CLIN 0005 Supports TSI’s
            Interpretation ..............................................................................................1

         B. Other Tenets of Contract Interpretation Disfavor FEMA’s
            Interpretation. .............................................................................................5

         C. The Board Erroneously Disregarded Expert Reports And
            Binding Precedent in Metric Constructors...............................................10

             1. FEMA Mischaracterizes Metric Constructors, Which Is
                Binding Precedent And Obligated The Board To
                Consider TSI’s Expert Reports. ..........................................................10

             2. TSI Demonstrated Reasonable Reliance On Trade
                Practice And Custom. ..........................................................................15

             3. TSI Preserved Its Right To Engage in Expert Discovery
                and Timely Submitted Expert Reports. ...............................................16

             4. The Board’s Exclusion Of Expert Reports On The Basis
                That The Board Already Interpreted The Contract Was
                Legal Error…… ..................................................................................20

             5. FEMA Did Not Timely Produce Expert Reports. ...............................22

         D. FEMA Does Not Explain Its Contemporaneous Description
            of CLIN 0005 As A “Penalty” And The Application Of The
            Restocking Fee To “Unshipped Loads.” ..................................................23

         E. The Board’s Refusal To Consider The Florence Task Order
            Was Error..................................................................................................24




                                                           -i-
            Case: 23-1556          Document: 14         Page: 3      Filed: 09/18/2023




      F. If TSI’s Interpretation Is Not The Only Reasonable One,
         Contra Proferentem Applies. ...................................................................28

CONCLUSION AND STATEMENT OF RELIEF ................................................28




                                                 -ii-
               Case: 23-1556           Document: 14           Page: 4       Filed: 09/18/2023




                                    TABLE OF AUTHORITIES

Cases

Alvin, Ltd. v. U.S. Postal Serv.,
       816 F.2d 1562 (Fed. Cir. 1987) .......................................................................7
Aycock Eng’g, Inc. v. Airflite, Inc.,
     560 F.3d 1350 (Fed. Cir. 2009) .............................................................. 20, 23
Beta Sys., Inc. v. United States,
      838 F.2d 1179 (Fed. Cir. 1988) .....................................................................19

Brooklyn Life Ins. Co. of N.Y. v. Dutcher,
     95 U.S. 269 (1877).........................................................................................28
Central Eng’g & Const. Co. v. United States,
      103 Ct. Cl. 440 (1945) ...................................................................................28

Chase & Rice, Inc. v. United States,
     354 F.2d 318 (Ct. Cl. 1965) ...........................................................................27

DJ Mfg. Corp. v. United States,
     86 F.3d 1130 (Fed. Cir. 1996) .........................................................................8

Hunt Const. Grp., Inc. v. United States,
     281 F.3d 1369 (Fed. Cir. 2002) .....................................................................13

Jowett, Inc. v. United States,
      234 F.3d 1365 (Fed. Cir. 2000) .............................................................. 12, 13

Lockheed Martin IR Imaging Sys. v. West,
     108 F.3d 319 (Fed. Cir. 1997) .......................................................................10

Metric Constructors, Inc. v. NASA,
      169 F.3d 747 (Fed. Cir. 1999) ............................................................... passim

Mingus Constructors, Inc. v. United States,
     812 F.2d 1387 (Fed. Cir. 1987) .....................................................................18

N. Pac. Emergency Exp. Ass’n. v. United States,
      95 Ct. Cl. 430 (1942) .....................................................................................24



                                                      -iii-
                Case: 23-1556            Document: 14            Page: 5       Filed: 09/18/2023




Northwest Title Agency, Inc. v. United States,
     855 F.3d 1344 (Fed. Cir. 2017) .....................................................................12

Pacific Gas & Elec. Co. v. United States,
      536 F.3d 1282 (Fed, Cir. 2008) .......................................................................7
Peterson Indus. Depot, Inc. v. United States,
      140 Fed. Cl. 1 (2018) .......................................................................................9
Premier Office Complex of Parma, LLC v. United States,
     916 F.3d 1006 (Fed. Cir. 2019) .....................................................................12

Promac, Inc. v. West,
     203 F.3d 786 (Fed. Cir. 2000) .......................................................................19
Reliable Contracting Grp., LLC v. Dep’t of Veterans Affs.,
      779 F.3d 1329 (Fed. Cir. 2015) .................................................................4, 28

Shell Oil Co. v. United States,
      751 F.3d 1282 (Fed. Cir. 2014) .....................................................................12

Sterling Federal Sys., Inc. v. Goldin,
       16 F.2d 1177 (Fed. Cir. 1994) .......................................................................22

Supreme Foodservice GmbH v. Dir. of Def. Logistics Agency,
     54 F.4th 1362 (Fed. Cir. 2022) .....................................................................21

WDC W. Carthage Assocs. v. United States,
    324 F.3d 1359 (Fed. Cir. 2003) ........................................................ 26, 27, 28

Other Authorities
Restatement (Second) of Contracts § 203(a) .......................................................7, 11

Regulations

48 C.F.R. § 16.202-1 ..............................................................................................3, 6

48 C.F.R. § 16.301-1 ..................................................................................................7

48 C.F.R. § 52.216-7(b) .............................................................................................7



                                                         -iv-
           Case: 23-1556      Document: 14      Page: 6   Filed: 09/18/2023




                                   ARGUMENT

      A. The Plain Language of CLIN 0005 Supports TSI’s Interpretation.

      The Federal Emergency Management Agency (“FEMA”) does not identify

any language that explicitly says CLIN 0005 applies only to the extent the contractor

incurs cost physically restocking bottled water—that language does not exist in the

IDIQ Contract or Maria Task Order. FEMA’s interpretation reads such a

requirement into the CLIN, which is contrary to principles of contract interpretation

when the contract is otherwise clear.

      If FEMA intended for CLIN 0005 to apply only when Team Systems

International, LLC (“TSI”) incurs cost physically restocking canceled orders—as

opposed to applying the CLIN when orders are canceled, as the CLIN expressly

states—it would have said so in the CLIN description, just as it did for the other

“Additional Contract Requirements” CLINs in the same section of the IDIQ

Contract, and just as it later did in the follow-on contract. See APPX0355 (FEMA

revising CLIN 0005 to require “proof of cost incurred”).

      FEMA’s argument rests on the title of CLIN 0005, “Restocking Fee.” FEMA

insists that the fee must be limited to situations when TSI physically restocks bottled

water because the title says restocking. TSI’s expert reports demonstrated that

“restocking fee” ordinarily means, and is regularly used interchangeably with,

“cancelation fee.”


                                          -1-
            Case: 23-1556     Document: 14      Page: 7    Filed: 09/18/2023




      But even without expert testimony, FEMA’s interpretation1 is unreasonable

because it starts by using the title “restocking fee” to define “restocking fee” as a fee

applicable only when canceled orders are physically restocked and the contractor

incurs costs—something the title does not say and the CLIN type (fixed price) does

not contemplate. Having defined the CLIN based only on the title, FEMA then reads

the CLIN’s two descriptive sentences as merely establishing conditions for the fee,

as opposed to defining the CLIN itself.

      FEMA says the first sentence—“[t]he initial ordered quantity either decreases

or the order is cancelled”—does not define the CLIN fee, but instead conditions

eligibility for the fee only when the initial ordered quantity either decreases or the

order is canceled. See FEMA Br. at 16. FEMA argues that restocking for any other

reason, “such as in the ordinary course of business or in connection with the

performance of the contract,” would not entitle TSI to the fee. These alternative

scenarios, however, are pure fiction.

      Since the Maria Task Order is fixed price, there are no circumstances under

which FEMA would ever be obligated to pay TSI for restocking bottled water other

than if FEMA canceled or reduced any order. FEMA does not provide any examples



1
  FEMA alleges that TSI “claims that the task order at issue altered FEMA’s
obligations,” FEMA Br. at 16 n.1, but does not cite where TSI allegedly made such
an argument. TSI agrees with FEMA that the IDIQ Contract terms apply.


                                          -2-
           Case: 23-1556     Document: 14      Page: 8   Filed: 09/18/2023




in its brief, yet without alternative scenarios, the first sentence would be redundant

and meaningless.

      FEMA says the second sentence—“[t]he fee covers the costs of restocking

decreased or cancelled order to the Contract”—indicates what the restocking fee

“covers.” FEMA Br. at 19. That portion of FEMA’s analysis is correct, but then

FEMA argues that since the purpose of the fee is to cover restocking costs, TSI must

incur some nominal restocking costs to be eligible for the fee. However, nothing in

the CLIN says TSI must first incur costs. By law, the incurrence of cost on a fixed

price contract is irrelevant and cannot be the basis for adjusting a fixed fee. See 48

C.F.R. § 16.202-1 (“A firm-fixed-price contract provides for a price that is not

subject to any adjustment on the basis of the contractor’s cost experience in

performing the contract.”). FEMA does not address this regulation in its brief, nor

does it identify any precedent in government contracting where the incurrence of

actual cost (regardless of amount) is necessary for the payment of a fixed fee.

      Unlike terms such as “reimbursement” or “compensate,” the term “cover”

does not mean that incurrence of actual cost is necessary. FEMA correctly

recognizes that the purpose of the restocking fee is to be “provided in lieu of actual

costs incurred for restocking,” FEMA Br. at 20, yet fails to recognize that a fee

negotiated before any costs are known “covers” zero restocking costs just as much

as it “covers” significant restocking costs. In both instances, the pre-negotiated fee


                                         -3-
             Case: 23-1556     Document: 14     Page: 9   Filed: 09/18/2023




covers the contractor’s costs and fully resolves any future claim associated with

restocking a canceled or reduced order.2 Like all fixed price contracting, the fee

reflects the parties’ agreement to share risk. Fixed priced contracting benefits FEMA

when actual restocking costs are higher while benefitting TSI if its actual restocking

costs are lower or even zero. By arguing that TSI must demonstrate that it incurred

nominal restocking cost, FEMA is introducing words into the contract that do not

exist.

         In contrast to FEMA’s interpretation, TSI’s interpretation relies on the two

sentences to define “restocking fee,” as those are the only other words in the contract

explaining the meaning of CLIN 0005. When interpreting a contractual term, a court

should begin by looking at the contract’s definition. See, e.g., Reliable Contracting

Grp., LLC v. United States, 779 F.3d 1329, 1333 (Fed. Cir. 2015) (looking first to

determine if contract defined “new” before concluding the term was ambiguous).

Rather than assume the parties failed to define “restocking fee” and merely described

conditions for the fee, this Court should look to the IDIQ Contract’s description of

“restocking fee” to determine how the parties defined it.



2
 As TSI explained in its opening brief, anticipating or ascertaining actual restocking
fees that might be charged by suppliers would be difficult, especially under
emergency contracting conditions. The fixed fee “covers” these future unknown
costs. Since the fee also provides assurances of minimum payment before TSI places
an order, TSI was able to quote a lower price for the delivery quantity.


                                          -4-
          Case: 23-1556     Document: 14       Page: 10   Filed: 09/18/2023




      Viewed this way, the first sentence in the CLIN identifies the only event that

determines when the fee applies—FEMA’s cancelation or reduction of an initial

ordered quantity. The second sentence merely explains the purpose of the fee—to

cover costs of restocking the canceled or reduced quantity. A fee that is paid upon

the cancelation or reduction of an order for purposes of covering any costs of

restocking is reasonably called a “restocking fee,” even if no physical restocking

occurs or in some instances the contractor may not actually incur restocking costs.

The parties could have entitled the CLIN “cancelation fee,” but as TSI demonstrated

with expert testimony, it is common in the industry to use restocking fee and

cancelation fee interchangeably.

      Regardless, the CLIN description defines “restocking fee” and its language is

straightforward. It does not say TSI must physically restock bottled water after a

cancelation, nor does it say TSI must incur actual cost before FEMA will pay the

entire fee—language that is indispensable for FEMA’s interpretation but found

nowhere in the text. TSI’s interpretation harmonizes the language of the contract and

does not introduce any words into the contract or render any meaningless.

      B. Other Tenets       of     Contract    Interpretation   Disfavor FEMA’s
         Interpretation.

      First, FEMA’s view of CLIN 0005 is unreasonable because it is contrary to

the Federal Acquisition Regulation. FEMA summarizes its interpretation as follows:




                                         -5-
           Case: 23-1556      Document: 14      Page: 11   Filed: 09/18/2023




      [W]e agree that a restocking fee is to be provided in lieu of actual costs
      incurred for restocking. Reimbursement is to be based upon the number
      of units that are restocked, rather than the actual cost of restocking. But
      that does not relieve TSI of the burden of demonstrating that it was
      required to restock, incurring restocking costs in the first instance. The
      existence of such costs, rather than the actual amount of such costs, is
      what is relevant.

FEMA Br. at 20 (emphasis added).

      A fixed price contract “is not subject to any adjustment on the basis of the

contractor’s cost experience in performing the contract.” 48 C.F.R. § 16.202-1. For

this reason, contractors performing under fixed price contracts are not required to

maintain cost records or otherwise demonstrate any incurred costs. FEMA’s

interpretation violates this regulation and imposes an unstated “burden,” seeking not

only to adjust but outright eliminate CLIN 0005’s fixed price on the basis of TSI

“incurring restocking costs in the first instance.” The incurrence of costs is irrelevant

under a fixed price contract. FEMA has already admitted that CLIN 0005 is fixed

price. See APPX0394 (“[T]he Restocking Fee is a fixed price CLIN”). FEMA’s brief

does not respond to this argument nor harmonize its interpretation with this

regulation.

      The Federal Acquisition Regulation also does not recognize the concept of

paying a fixed price so long as the contractor demonstrates that it incurred actual

cost without any regard to the “actual amount of such costs.” The Maria Task Order

was not a cost-reimbursement contract and did not contain a single cost-type clause


                                          -6-
           Case: 23-1556     Document: 14      Page: 12   Filed: 09/18/2023




signaling that the contractor has a “burden” to demonstrate incurred costs. FEMA

erroneously states that CLIN 0005 provides for “reimbursement,” but that term,

along with the concept of “incurred” costs, applies exclusively to cost-

reimbursement contracting. See, e.g., 48 C.F.R. § 52.216-7(b) (providing for the

reimbursement of “costs incurred”); 48 C.F.R. § 16.301-1. FEMA’s interpretation

relies on principles and concepts of cost-type contracting that do not apply to this

contract. FEMA’s brief does not respond to TSI’s argument that its interpretation

would result in a hybrid CLIN that is fixed price yet also dependent on the incurrence

of cost irrespective of the “actual amount of such costs”—an unprecedented concept

not found in the Federal Acquisition Regulation.

      An interpretation that is inconsistent with law is not preferred. See

Restatement (Second) of Contracts § 203(a) (“an interpretation which gives a

reasonable, lawful, and effective meaning to all the terms is preferred to an

interpretation which leaves a part unreasonable, unlawful, or of no effect”); Pac. Gas

& Elec. Co. v. United States, 536 F.3d 1282, 1288 (Fed. Cir. 2008) (citing

Restatement (Second) of Contracts § 203(a) as authority).

      Second, FEMA’s interpretation leads to an irrational result. Federal Circuit

precedent requires this Court to prefer a “reasonable meaning over one that achieves

a ‘weird and whimsical result.’” Alvin, Ltd. v. U.S. Postal Serv., 816 F.2d 1562, 1566

(Fed. Cir. 1987) (quoting Arizona v. United States, 575 F.2d 855, 863 (Ct. Cl. 1978)).


                                         -7-
           Case: 23-1556      Document: 14      Page: 13     Filed: 09/18/2023




Before the Board, FEMA argued that TSI is entitled to $13,504,320 if it incurred just

$10 or even $0 restocking the 67,521,600 canceled liters, but is entitled to $0 if it

did not physically restock any liters. See APPX0395. FEMA argued that the “only

relevant factor is the quantity of bottles restocked.” Id.

      In contrast, here, FEMA argues “[t]he existence of such costs, rather than the

actual amount of such costs, is what is relevant.” FEMA Br. at 20. It is irrational and

would lead to a “whimsical” result to interpret CLIN 0005, as FEMA does here, such

that TSI would receive full payment of the CLIN if TSI incurs nominal restocking

costs of $10 but zero payment if it incurs no restocking costs. There is no rational

basis for treating these two scenarios differently. FEMA’s brief does not explain its

inconsistent positions or address the irrational and whimsical result of its

interpretation.

      TSI’s interpretation, however, does not lead to an irrational result. Like a

liquidated damages provision, it reasonably fixes FEMA’s liability for restocking in

advance in the event it cancels or reduces an order irrespective of TSI’s actual

restocking costs, “sav[ing] the time and expense of litigating the issue of damages.”

DJ Mfg. Corp. v. United States, 86 F.3d 1130, 1133 (Fed. Cir. 1996).

      Third, FEMA’s interpretation conflicts with the expressio unius est exclusio

alterius canon, which provides that the expression of one thing is the exclusion of

the other. “Where certain things are specified in detail in a contract, other things of


                                          -8-
           Case: 23-1556     Document: 14      Page: 14   Filed: 09/18/2023




the same general character relating to the same matter are generally held to be

excluded by implication.” Peterson Indus. Depot, Inc. v. United States, 140 Fed. Cl.

1, 13 (2018), aff’d, 778 F. App’x 963 (Fed. Cir. 2019).

      Each CLIN in the “Additional Contract Requirements” section, other than

CLIN 0005, contains express language specifying a condition for payment. For

example, for Drop Trailer (CLIN X003AA), the parties agreed that the fee would

apply only “based on actual drop days.” APPX0072. CLIN 0005 is the only

“Additional Contract Requirements” CLIN that identifies the occurrence of an event

(“[t]he initial ordered quantity either decreases or the order is cancelled”) without a

similar type of express condition on payment found in the other CLINs that FEMA

argues should also apply to CLIN 0005. Since the parties did not include a similar

express condition in CLIN 0005, they did not intend for one to apply.

      FEMA’s only response is that there “are express conditions for the payment

of the [CLIN 0005] fee, however minimal,” FEMA Br. at 21 (emphasis in original),

but does not cite any. FEMA merely repeats its argument that TSI must

“demonstrate[e] that it has incurred cost of restocking,” id., which is not expressly

stated anywhere in the contract. Instead of citing express language in CLIN 0005

supporting its interpretation—even “minimal” express language—FEMA cites the

IDIQ Contract’s standard invoice instructions, see id. (citing APPX0046), but those

instructions say nothing about CLIN 0005 much less require TSI to demonstrate that


                                         -9-
          Case: 23-1556     Document: 14       Page: 15   Filed: 09/18/2023




it incurred restocking costs to receive payment. Reading the CLIN “as part of an

organic whole,” Lockheed Martin IR Imaging Sys., 108 F.3d at 322, the parties did

not intend to subject CLIN 0005 to a similar express condition for payment.

      C. The Board Erroneously Disregarded Expert Reports And Binding
         Precedent in Metric Constructors.

      Even if this Court otherwise agrees with FEMA’s interpretation, the Board

clearly erred by refusing to consider expert testimony.

             1. FEMA Mischaracterizes Metric Constructors, Which Is
                Binding Precedent And Obligated The Board To Consider TSI’s
                Expert Reports.

      This Court made clear in Metric Constructors that when a contractor presents

evidence that a contract term has an accepted industry meaning, the “context” in

which the parties entered into a contract, including evidence of trade practice, is a

necessary consideration before a court can conclusively determine if a contract is

ambiguous or unambiguous:

      Before an interpreting court can conclusively declare a contract
      ambiguous or unambiguous, it must consult the context in which the
      parties exchanged promises. Excluding evidence of trade practice and
      custom because the contract terms are “unambiguous” on their face
      ignores the reality of the context in which the parties contracted. That
      context may well reveal that the terms of the contract are not, and never
      were, clear on their face. On the other hand, that context may well
      reveal that contract terms are, and have consistently been,
      unambiguous.

      Thus, evidence of trade practice and custom plays an important role in
      contract interpretation. Before arriving at a legal reading of a contract
      provision, a court must consider the context and intentions of the

                                        -10-
           Case: 23-1556      Document: 14       Page: 16   Filed: 09/18/2023




       parties. That context may or may not disclose ambiguities. In any event,
       evidence of trade practice and custom is part of the initial assessment
       of contract meaning. It illuminates the contemporaneous circumstances
       of the time of contracting, giving life to the intentions of the parties. It
       helps pinpoint the bargain the parties struck and the reasonableness of
       their subsequent interpretations of that bargain.

169 F.3d at 752 (emphasis added). See also id. at 753 (citing Restatement (Second)

of Contracts § 220 cmt. d for the same proposition). TSI introduced evidence of this

“context,” including expert testimony that “restocking fee” has a customary meaning

in the industry, FEMA’s contemporaneous characterization of CLIN 0005 as a

“penalty,” and FEMA’s treatment of the same CLIN under a different task order

under the same IDIQ Contract—all of which the Board excluded from the record or

otherwise did not consider because it had already interpreted the contract against

TSI.

       FEMA argues that interpretations of Metric Constructors as requiring

consideration of trade practice before determining if there is an ambiguity “has been

explicitly rejected by this Court in numerous cases,” FEMA Br. at 27, but this

argument is misleading and fails to acknowledge distinguishing facts.

       The Federal Circuit has not overturned Metric Constructors, and it remains

binding precedent.3 In Jowett, Inc. v. United States, 234 F.3d 1365 (Fed. Cir. 2000),



3
 This Court continues to cite Metric Constructors as precedent. See, e.g., Premier
Office Complex of Parma, LLC v. United States, 916 F.3d 1006, 1011 (Fed. Cir.


                                          -11-
           Case: 23-1556     Document: 14       Page: 17   Filed: 09/18/2023




this Court rejected a contractor’s distortion of Metric Constructors as providing that

“when the language of the contract does not reflect industry practice, the contract is

ambiguous and consequently the evidence of industry practice is admissible to aid

in the interpretation of the contract.” Id. at 1368. Jowett rejected this

mischaracterization of Metric Constructors, noting that the key to Metric

Constructors was that there was a “term in the contract that has an accepted industry

meaning different from its ordinary meaning.” Id. at 1369.

      The contractor in Jowett did not present evidence that a contract term had an

accepted industry meaning. Rather, it tried to use industry custom to change the plain

and ordinary meaning of language requiring it to insulate all supply ducts, insisting

that it was industry practice to insulate only return ducts. In denying the appeal, this

Court did not limit Metric Constructors, but merely confirmed the longstanding rule

that a contractor may not use “industry practice to create an ambiguity.” Id. at 1368.

      In Hunt Const. Grp., Inc. v. United States, 281 F.3d 1369 (Fed. Cir. 2002), the

Federal Circuit rejected a similar argument that “trade practice can render a contract

ambiguous that is otherwise clear on its face” based on a distorted reading of Metric

Constructors. This Court again did not diminish Metric Constructors, but pointed

out that Jowett “recognized that evidence of trade practice may be useful in



2019); Northwest Title Agency, Inc. v. United States, 855 F.3d 1344, 1347 (Fed. Cir.
2017); Shell Oil Co. v. United States, 751 F.3d 1282, 1296 (Fed. Cir. 2014).


                                         -12-
          Case: 23-1556      Document: 14      Page: 18   Filed: 09/18/2023




interpreting a contract term having an accepted industry meaning different from its

ordinary meaning—even where the contract otherwise appears unambiguous—

because ‘the parties to a contract ... can be their own lexicographers and ... trade

practice may serve that lexicographic function in some cases.’” Id. at 1373 (quoting

Jowett, 234 F.3d at 1368).

      FEMA insists that “TSI makes the same argument on appeal” that this Court

rejected in Jowett. FEMA Br. at 27. This argument completely mischaracterizes the

facts and applicable precedent. Unlike the contractor in Jowett, Hunt, and the other

cases cited by FEMA, TSI presented evidence that the term “restocking fee” has an

accepted industry meaning that is different from its ordinary meaning. In the bottled

beverage industry, the term is synonymous with “cancelation fee” and provides for

the automatic payment of a fee upon cancelation of an order without proof of

restocking costs.

      The contractors in Jowett and Hunt tried to change the terms of the contract

to conform to industry practice, thus impermissibly seeking to create an ambiguity

where none existed. In contrast, TSI’s expert reports do not seek to rewrite the

contract around industry practice, but provide essential meaning to the term

“restocking fee” as understood by the parties and industry. This is exactly what the

contractor did in Metric Constructors and what led this Court to rely on “evidence

show[ing] that the electrical industry commonly uses the term ‘relamping’ to mean


                                        -13-
           Case: 23-1556      Document: 14       Page: 19   Filed: 09/18/2023




the total replacement of lamps at a particular facility” to interpret the contract against

the government. Id. at 753.

      The board in Metric Constructors “accorded [trade usage] evidence no weight

‘in light of the clear words’ of the contract.” Id. at 749. This Court should reverse

the Board here for the same reason it did in Metric Constructors. TSI provided expert

testimony showing trade usage of the term “restocking fee” by the Board’s deadline

and before any entry of judgment. Yet the Board excluded this evidence from the

record, preventing TSI from even presenting the evidence for consideration.

      The Board justified its decision by explaining, with circular reasoning, that

the expert reports “would not have changed that decision because the contract is not

ambiguous, and the Board’s focus has always been on whether TSI actually incurred

restocking fees.” APPX0011. See also APPX0012 (mischaracterizing Metric

Constructors and TSI’s argument). In other words, since the Board already

interpreted the contract (before any fact or expert discovery began), it refused to

consider evidence that “restocking fee” has a meaning that is different from its

ordinary meaning—evidence that this Court specifically requires interpreting boards

to consider “[b]efore” it “can conclusively declare a contract ambiguous or

unambiguous.” Metric Constructors, 169 F.3d at 752.

      FEMA makes the same mistake in its brief, arguing that “because the contract

was unambiguous, the board was entirely correct to not consider extrinsic evidence


                                          -14-
           Case: 23-1556     Document: 14      Page: 20   Filed: 09/18/2023




in the first instance.” FEMA Br. at 22. This is precisely the error that the board

committed in Metric Constructors and this Court reversed.

      Credible testimony that “restocking fee” is regularly used in the industry to

mean “cancelation fee”—coupled with FEMA’s contemporaneous characterization

of CLIN 0005 as a “penalty” and the CLIN’s description, which does not state that

TSI has to incur cost or physically restock any bottles—demonstrates that TSI’s

interpretation is reasonable. Metric Constructors required the Board to consider this

evidence before “conclusively” determining whether or not the contract was

ambiguous. The Board’s refusal to consider trade usage and other “context” cannot

be reconciled with Metric Constructors and constitutes plain error.

             2. TSI Demonstrated Reasonable Reliance On Trade Practice And
                Custom.

      In Metric Constructors, the contractor’s reliance on trade practice was

“reflected in its bid.” 169 F.3d at 753. FEMA argues that TSI’s expert reports “do

not provide specific evidence that TSI relied upon [] trade practice.” FEMA Br. at

26, but that ignores the record.

      TSI’s reliance on the common industry usage of “restocking fee” was

reflected in its proposal. FEMA solicited a quote for a “Restock Penalty” and TSI

proposed a rate of just $0.20, half the ceiling rate of $0.41 due to the significant

quantity in the initial order. Expert testimony provided that, “if CLIN 005 did not

act as a cancelation fee or a form of liquidated damages whenever an order was

                                        -15-
          Case: 23-1556     Document: 14       Page: 21   Filed: 09/18/2023




canceled or quantity reduced, a distributor in TSI’s position would have shifted the

risk to its proposed unit price for the product.” APPX0386. TSI confirmed its

understanding that CLIN 0005 would apply upon cancelation, rather than showing

it physically returned bottled water, by stating in its proposal response that it can

“cancel unshipped loads with 24 hour notice and will be charged a restocking fee.”

APPX0153. FEMA accepted TSI’s terms, specifically adding a 24-hour cancelation

requirement to CLIN 0005 in the awarded task order. See APPX0173.

      TSI also introduced testimony that even before the solicitation, TSI

questioned FEMA’s initial plan to place an extremely large initial order of 240

million liters and “reminded FEMA that there would be a restocking fee for quantity

reductions.” APPX0289.

      This evidence demonstrates that TSI reasonably relied on the common

industry understanding of the term “restocking fee” when entering into the contract,

and easily meets the reliance requirement in Metric Constructors.

             3. TSI Preserved Its Right To Engage in Expert Discovery and
                Timely Submitted Expert Reports.

      Like the Board, which found TSI’s arguments regarding trade practice

“neither timely nor acceptable,” APPX0011, FEMA similarly argues that TSI’s

submission of expert reports was untimely because “TSI did not assert or present

any evidence that the phrase ‘restocking fee’ needed to be interpreted in accordance

with trade practice” in its summary judgment motion before the Board. FEMA Br.

                                        -16-
            Case: 23-1556   Document: 14      Page: 22   Filed: 09/18/2023




at 7. FEMA also insinuates that TSI was obligated to seek reconsideration of the

Board’s January 27, 2022 decision, which did not grant judgment to either party, but

points to no authority. FEMA’s arguments mischaracterize the record and are

baseless.

      While TSI argued in its summary judgment motion that its interpretation of

CLIN 0005 was the only reasonable interpretation based on the plain language of

the contract, its opposition to FEMA’s motion for summary judgment 4 specifically

raised the need to consider testimony and other context evidence before construing

the contract against TSI, stating that “TSI requests the opportunity to provide

testimony on topics including the meaning of ‘restocking fee’ in commercial

practice, FEMA’s prior practice under similar CLINs, and the contracting officer’s

understanding of CLIN 0005 under the Maria Task Order.” APPX0465. See also id.

at APPX0465 (TSI arguing in its opposition that FEMA’s conduct prior to the

existence of the dispute is relevant to the Board’s interpretation of CLIN 0005).

Thus, contrary to FEMA’s argument, TSI did, in fact, timely assert that the term

“restocking fee” should be interpreted in accordance with commercial practice and

FEMA’s prior conduct, and that the Board should consider the context of the

agreement before interpreting CLIN 0005 against TSI.


4
  In its decision, the Board noted that “FEMA’s cross-motion for summary judgment
is not really a motion for summary judgment.” APPX0007.


                                       -17-
          Case: 23-1556     Document: 14       Page: 23   Filed: 09/18/2023




      TSI’s filing of its own summary judgment motion did not preclude TSI from

asserting in its opposition that commercial practice and FEMA’s prior conduct

should be considered before the Board adopted FEMA’s interpretation. “The party

against which summary judgment is granted is not estopped by the filing of its own

motion for summary judgment from asserting on review that there are genuine issues

of material fact which prevent entry of judgment as a matter of law against it.”

Mingus Constructors, Inc. v. United States, 812 F.2d 1387, 1391 (Fed. Cir. 1987)

(emphasis added) (quoting Nafco Oil & Gas, Inc. v. Appleman, 380 F.2d 323, 324-

25 (10th Cir. 1967), for the proposition that a party filing a motion for summary

judgment “does not thereby so concede that no issues remain in the event his

adversary’s theory is adopted”).

      On motions for summary judgment, the Board was required to resolve

reasonable inferences against FEMA, such as the inference that “restocking fee” has

a different meaning in the industry that is contrary to FEMA’s interpretation, before

adopting FEMA’s interpretation. See Promac, Inc. v. West, 203 F.3d 786, 788 (Fed.

Cir. 2000) (“all reasonable inferences must be resolved against the party whose

motion is under consideration”); Beta Sys., Inc. v. United States, 838 F.2d 1179,

1183 (Fed. Cir. 1988) (disagreement over intention of the parties “raised a question

of material fact underlying the issue of contract interpretation” precluding summary

judgment). Here, the Board failed to do so.


                                        -18-
           Case: 23-1556      Document: 14       Page: 24   Filed: 09/18/2023




      The Board’s January 27, 2022 decision did not address or acknowledge: (a)

the fact that the parties had not yet engaged in any discovery; (b) TSI’s explicit

request to introduce evidence of trade usage before construing “restocking fee”

against TSI; (c) FEMA’s contemporaneous characterization of CLIN 0005 as a

penalty (even though it was in the parties’ joint statement of material facts); (d) TSI’s

statement of material fact that it cautioned FEMA before ordering such a large initial

quantity that it could result in significant “restocking fee” liability, see APPX0372;

and (d) other relevant context such as FEMA’s understanding of CLIN 0005 under

a different task order issued under the IDIQ Contract before the dispute between the

parties arose. The Board was required to draw reasonable inferences based on each

of these in favor of TSI.

      Ultimately, however, the Board announced only a preliminary interpretation

of CLIN 0005 (“the Board is led to the conclusion that … more must occur than

FEMA simply decreasing or cancelling the number of liters ordered,” APPX0006),

but did not grant summary judgment to either party. The Board’s initial

interpretation as part of its denial of summary judgment did not establish the law of

the case (FEMA does not suggest otherwise) or, absent further order, narrow the

scope of the case. The “law of the case doctrine … simply does not apply to a denial

of summary judgment.” Aycock Eng’g, Inc. v. Airflite, Inc., 560 F.3d 1350, 1356

(Fed. Cir. 2009) (recognizing that determination of a registration as part of a denial


                                          -19-
           Case: 23-1556     Document: 14       Page: 25   Filed: 09/18/2023




of summary judgment did not foreclose the board “from determining, based upon

the entire record (including trial, briefing, and oral argument), what the registration

actually covers”) (emphasis in original). The Board thus permitted the litigation to

proceed, ending fact and expert discovery on September 9, 2022. APPX0473. TSI

then prepared expert reports addressing trade usage and timely exchanged them by

the deadline established by the Board.

      Since the Board entered an order setting a deadline for fact and expert

discovery without any limitations on its scope, and TSI met that deadline, TSI’s

submission of the three expert reports was timely. FEMA implies that TSI waived

its right to submit these reports showing trade usage by not seeking reconsideration,

but Board Rule 26 is permissive, not mandatory.

             4. The Board’s Exclusion Of Expert Reports On The Basis That
                The Board Already Interpreted The Contract Was Legal Error.

      FEMA frames the Board’s refusal to consider TSI’s three expert reports as an

evidentiary ruling subject to an “abuse of discretion” standard of review. See FEMA

Br. at 23. The correct standard is de novo, since this appeal seeks reversal of the

Board’s erroneous interpretation of the contract. See Supreme Foodservice GmbH v.

Dir. of Def. Logistics Agency, 54 F.4th 1362, 1367 (Fed. Cir. 2022) (“Contract

interpretation is a question of law reviewed without deference.”). The Board’s

refusal to consider evidence of trade usage in direct contradiction of Metric

Constructors constitutes legal error and is not discretionary.

                                         -20-
           Case: 23-1556     Document: 14      Page: 26   Filed: 09/18/2023




      This is not a case, for example, where the Board weighed the reports but found

them unpersuasive and TSI seeks review. The Board readily conceded that

considering the reports “would not have changed [the January 2022] decision

because the contract is not ambiguous.” APPX0011 (emphasis added). The Board

thus excluded the reports because it had already interpreted the contract, which was

contrary to law requiring the Board to consider trade usage of “restocking fee” before

conclusively interpreting the contract. Since this violated binding precedent, TSI

does not need to show an abuse of discretion. See Metric Constructors, 169 F.3d at

753 (the Federal Circuit “examines anew whether the contract specifications at issue

here are ambiguous”).

      But even if an abuse of discretion standard applies, the Board clearly abused

it here because its decision was based on legal error—the Board’s failure to draw

reasonable inferences in favor of TSI when interpreting the contract and then refusal

to consider evidence that a term has a different meaning before “conclusively”

determining if the contract is ambiguous. Id. at 752. See also Sterling Federal Sys.,

Inc. v. Goldin, 16 F.2d 1177, 1182 (Fed. Cir. 1994) (the Board abuses its discretion

when its decision is “based on an erroneous conclusion of law”) (quoting Gerritsen

v. Shirai, 979 F.2d 1524, 1529 (Fed. Cir. 1992)).




                                        -21-
          Case: 23-1556     Document: 14       Page: 27   Filed: 09/18/2023




             5. FEMA Did Not Timely Produce Expert Reports.

      FEMA complains that TSI engaged in “tactics” by producing experts reports

in compliance with the Board’s deadline for expert discovery and calls it

“ridiculous” that TSI would characterize its own expert reports as uncontested.

FEMA Br. at 25-26. But it is true that FEMA did not introduce any expert reports

countering TSI’s expert testimony showing, among other things, that “restocking

fee” has a particular meaning in the bottled beverage industry.

      On July 15, 2022, after the Board denied summary judgment and issued

several orders extending the schedule, the parties jointly agreed to resolve the case

through a record submission under Board Rules 18 and 19 and proposed a schedule

for the completion of discovery without any limitations. APPX0469. The Board

adopted the joint schedule without limiting the scope of discovery, requiring FEMA

to produce any expert reports by August 26, 2022, closing expert discovery on

September 9, 2023, and requiring FEMA to supplement the record by September 23,

2022. APPX0472-0473.

      TSI submitted expert reports prior to the deadline and close of the record.

FEMA did not. Under Board Rule 13, “[u]nless otherwise ordered, the scope of

discovery is the same as under Rule 26(b)(1) of the Federal Rules of Civil

Procedure.” Since the Board did not “otherwise” limit the scope of discovery when

granting the parties’ joint schedule, and the Board’s denial of summary judgment


                                        -22-
           Case: 23-1556     Document: 14       Page: 28   Filed: 09/18/2023




did not establish the law of the case precluding a different interpretation “based upon

the entire record (including trial, briefing, and oral argument),” Aycock, 560 F.3d at

1356, FEMA should not have disregarded the Board’s schedule.

      D. FEMA Does Not Explain Its Contemporaneous Description of CLIN
         0005 As A “Penalty” And The Application Of The Restocking Fee To
         “Unshipped Loads.”

      In the joint statement of undisputed material facts, the parties agreed that

FEMA’s solicitation for the Maria Task Order described the CLIN 0005 fee as a

“Restock Penalty” and that TSI’s proposal provided that it will be charged a

“restocking fee” for canceling “unshipped loads.” APPX0156; APPX0153. The

contract incorporated this understanding by expressly agreeing to TSI’s request for

notice of 24 hours before canceling an order. See APPX0173 (“As requested by the

vendor …”). These facts bear directly on the parties’ contemporaneous

understanding of CLIN 0005. And since FEMA memorialized this exchange in the

Maria Task Order, it is not extrinsic evidence but part of the contract and must be

considered when interpreting CLIN 0005.

      The Board did not mention, much less explain, FEMA’s characterization of

CLIN 0005 as a “penalty,” TSI’s proposal, or FEMA’s memorialization of this

exchange in the Maria Task Order when it issued either of its substantive decisions.

FEMA likewise fails to address any of these facts in its brief.




                                         -23-
           Case: 23-1556     Document: 14       Page: 29   Filed: 09/18/2023




      Since the purpose of contract interpretation is to ascertain the intent of the

parties, it was legal error for the Board to disregard this undisputed context. See N.

Pac. Emergency Exp. Ass’n. v. United States, 95 Ct. Cl. 430, 449-50 (1942) (“The

intent of the parties prevails whenever it can be ascertained.”) (citing George v. Tate,

102 U.S. 564 (1880)); Metric, 169 F.3d at 752 (Board “must consult the context in

which the parties exchanged promises” as that “context may well reveal that the

terms of the contract are not, and never were, clear on their face.”).

      E. The Board’s Refusal To Consider The Florence Task Order Was
         Error.

      FEMA suggests that its prior interpretation of “restocking fee” as a

cancelation fee—paid based solely on the quantity of liters canceled, not physically

restocked—is not relevant because the Florence Task Order had a different

contracting officer and FEMA canceled less than a million liters representing a

“single day of shipment,” whereas it canceled more than 67 million liters under the

Maria Task Order. FEMA Br. at 28-30. These alleged distinctions are irrelevant.

      Contrary to FEMA’s suggestion, the contracting officer who issued the

solicitation resulting in the award of the Maria Task Order, where she called CLIN

0005 a “restocking penalty,” is the same contracting officer who agreed to pay TSI

the same CLIN 0005 fee under the Florence Task Order based only on the quantity

reduced, not evidence of the quantity physically restocked. See APPX0155-0156,

APPX0091.

                                         -24-
           Case: 23-1556     Document: 14       Page: 30   Filed: 09/18/2023




      TSI presented all relevant details regarding FEMA’s payment of the

“restocking fee” to the Board, including the fact that “FEMA did not require TSI to

produce documentation demonstrating its actual costs associated with the decrease

in the initial ordering quantity” and “did not require TSI to demonstrate that it had

… ‘actually incurred costs to restock’ the decreased quantity of bottled water, as

FEMA later did with respect to the Maria Task Order.” APPX0371. In its opposition,

FEMA conceded all of these facts, stating that they were “Undisputed.” APPX0443.

      Yet the Board did not even mention the Florence Task Order or the fact that

FEMA did not dispute that it paid the CLIN 0005 fee without requiring evidence of

physical restocking or the incurrence of costs in its initial January 27, 2022 decision.

Later, in its decision resolving the appeal, the Board again ignored FEMA’s

admission of these relevant facts, stating only that it “could not give weight to TSI’s

allegation about its prior dealings with FEMA because we have no reliable evidence”

to determine if the circumstances “were similar.” APPX0016. The Board

inexplicably failed to recognize that FEMA had already conceded the pertinent facts.

FEMA’s response stating that these facts were “Undisputed” means the Board, in

fact, had reliable data upon which to consider FEMA’s prior conduct—namely, its

payment of the “restocking fee” based on the quantity reduced and without seeking

evidence that TSI actually incurred restocking costs.




                                         -25-
           Case: 23-1556       Document: 14     Page: 31   Filed: 09/18/2023




      It is highly probative that, before the instant dispute arose, FEMA paid TSI

the CLIN 0005 fee for the quantity canceled without requiring proof of the quantity

of liters physically restocked or any evidence of costs incurred—the very criteria

that FEMA now tells this Court is essential for payment of the fee.

      FEMA guesses that the contracting officer “might have assumed” that TSI

physically restocked the same quantity, and suggests this might just be “an instance

where those two numbers happened to be the same.” FEMA Br. at 29-30. But FEMA

already admitted the salient facts in opposition. The Board’s disregard of this

evidence was contrary to the record, the parties’ stipulations, and ultimately the law,

which required the Board to consider this information as indicative of how FEMA

intended the “restocking fee” to operate. See WDC W. Carthage Assocs. v. United

States, 324 F.3d 1359, 1363 (Fed. Cir. 2003) (“interpretation of contract by the

parties before contract becomes the subject of controversy is deemed to be of great,

if not controlling weight”).

      TSI never argued that FEMA’s conduct under the Florence Task Order is

dispositive to the interpretation of CLIN 0005, but it is relevant to the reasonableness

of the parties’ respective interpretations presented here. FEMA’s contemporaneous

conduct before the dispute arose—paying the CLIN 0005 fee based on the quantity

of liters reduced from the initial order without requiring evidence of the two elements




                                         -26-
           Case: 23-1556      Document: 14       Page: 32   Filed: 09/18/2023




FEMA insists are necessary for the fee to apply—is consistent only with TSI’s

interpretation.

      FEMA suggests Chase & Rice, Inc. v. United States, 354 F.2d 318 (Ct. Cl.

1965) is distinguishable because the parties in that case made a “specific statement

interpreting the contract terms,” FEMA Br. at 30, but such a statement merely goes

to the evidence. It does not in any way limit binding precedent requiring reviewing

courts to give the parties’ interpretation before a dispute arises “great, if not

controlling weight.” Id. at 321.

      FEMA argues WDC W. Carthage is distinguishable because this Court found

that contract otherwise unambiguous, see FEMA Br. at 30, but that is immaterial.

This Court specifically noted the government’s previous interpretation of the

contract based on its payment of certain replacement costs as supporting the

reasonableness of the contractor’s interpretation—precisely what the Board was

required to do here.

      FEMA’s attempt to distinguish Reliable Contracting, 779 F.3d 1329, on the

basis that the instant case involves “two different and district [sic] factually distinct

situations” is nonsensical. FEMA Br. at 31. Reliable Contracting affirmed

longstanding precedent that “evidence of contemporaneous beliefs about the

contract is particularly probative of the meaning of a contract.” 779 F.3d at 1332

(citing Blinderman Constr. Co. v. United States, 695 F.2d 552, 558 (Fed. Cir. 1982),


                                          -27-
           Case: 23-1556     Document: 14      Page: 33   Filed: 09/18/2023




and Max Drill, Inc. v. United States, 427 F.2d 1233, 1240 (Ct. Cl. 1970) (en banc)

(per curiam)). FEMA does not attempt to differentiate other cases cited by TSI, such

as the Supreme Court’s instruction that “[t]here is no surer way to find out what

parties meant, than to see what they have done.” Brooklyn Life Ins. Co. of N.Y. v.

Dutcher, 95 U.S. 269, 273 (1877). See Central Eng’g & Const. Co. v. United States,

103 Ct. Cl. 440, 465 (1945) (citing Brooklyn Life for the same proposition).

      FEMA’s payment of the CLIN 0005 fee to TSI (at $0.41/liter, twice the price

at issue here) based only on the quantity of liters reduced, rather than requiring TSI

to prove that it had incurred cost physically restocking bottled water, occurred under

the same IDIQ Contract and thus same CLIN at issue here. Therefore, it is probative

of the meaning of CLIN 0005 and entitled to “great, if not controlling weight.” WDC

W. Carthage, 324 F.3d at 1363.

      F. If TSI’s Interpretation Is Not The Only Reasonable One, Contra
         Proferentem Applies.

      FEMA does not argue that any ambiguity is patent. Instead, it argues only that

TSI is not entitled to contra proferentem because TSI did not demonstrate that it

relied on its current interpretation. See FEMA Br. at 33. As explained above, the

record readily demonstrates that TSI relied on the common industry understanding

of the term “restocking fee” when entering into the Maria Task Order.

               CONCLUSION AND STATEMENT OF RELIEF

      For these reasons, the Court should reverse the Board’s decision.

                                        -28-
         Case: 23-1556      Document: 14     Page: 34   Filed: 09/18/2023




Dated: September 18, 2023                    Respectfully submitted,

                                              /s/James Y. Boland
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                                      -29-
Case: 23-1556   Document: 14   Page: 35   Filed: 09/18/2023




                       ADDENDUM

    FEDERAL RULE OF APPELLATE PROCEDURE 32.1(b)
            Case: 23-1556      Document: 14        Page: 36    Filed: 09/18/2023




                                  ORDER: July 18, 2022


                                        CBCA 7145


                       TEAM SYSTEMS INTERNATIONAL LLC,

                                                                 Appellant,

                                              v.

                     DEPARTMENT OF HOMELAND SECURITY,

                                                                 Respondent.

       James Y. Boland of Venable, LLP, Tyson, VA; and Christopher G. Griesedieck and
Lindsay M. Reed of Venable, LLP, Washington, DC, counsel for Appellant. George L.
Miller of Miller, Coffey, Tate, LLP, Philadelphia, PA, Trustee for Appellant.

     Rafael Lara, Jr., Jeffrey D. Webb, and Sarah Award, Matthew Lane of Office of Chief
Counsel, Federal Emergency Management Agency, Department of Homeland Security,
Washington, DC, counsel for Respondent.

SHERIDAN, Board Judge.

                                          ORDER

        Based on the parties’ joint submission, the following due dates are set for a decision
on the record in the above captioned case.

      Thursday, August 18, 2022, TSI responds to FEMA’s pending written discovery
requests and FEMA responds to TSI’s pending written discovery requests.

       Friday, August 26, 2022, any expert reports due to the other party.



                                         APPX0472
         Case: 23-1556      Document: 14      Page: 37    Filed: 09/18/2023




CBCA 7145                                                                             2

     Friday, September 9, 2022, fact and expert discovery ends.

     Friday, September 23, 2022, deadline for submission of material for inclusion in the
     record.

     Wednesday, October 5, 2022, joint statement of the issues and statement of facts.

     Wednesday, October 19, 2022, TSI’s initial brief.

     Tuesday, November 15, 2022, FEMA’s initial brief.

     Monday, November 28, 2022, TSI’s reply brief.

     Thursday, December 15, 2022, FEMA’s reply brief.




                                              _________________________
                                              PATRICIA J. SHERIDAN
                                              Board Judge




                                     APPX0473
              Case: 23-1556        Document: 14         Page: 38        Filed: 09/18/2023



FORM 19. Certificate of Compliance with Type-Volume Limitations                              Form 19
                                                                                            July 2020


                    UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

  CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMITATIONS

            Case Number: 2023-1556

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                                                Name:             James Y. Boland
